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 5
     Counsel for Defendant DOUGLAS STORMS YORK
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 8                            IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )               No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )               DEFENDANT DOUGLAS STORMS
                                           )               YORK’S TRIAL MEMORANDUM
14                                         )
     vs.                                   )
15                                         )
                                           )               Pretrial Conference: July 16, 2015
16                                         )               Time: 2:00 p.m.
     DOUGLAS STORMS YORK,                  )
17                                         )               Trial Date: July 20, 2015
                       Defendant.          )
18   _____________________________________ )               Honorable Beth Labson Freeman

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20           Defendant Douglas Storms York submits this trial memorandum pursuant to the Court’s

21   standing order for the Court’s consideration prior to the pretrial conference.

22   I.      Legal Bases for the Charge

23           Mr. York is charged in a one count indictment with False Impersonation of an Employee

24   of the United States in violation of 18 U.S.C. § 912.

25   II.     Anticipated Evidence

26           Based on the discovery received as of the date of this filing, the defense anticipates that

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 1   the government will attempt to introduce evidence that Mr. York allegedly made a phone call to

 2   Allan Hessenflow claiming to be an individual with the Internal Revenue Service (“IRS”) on

 3   February 23, 2012.

 4          The defense anticipates that the majority of its case will be rebuttal and impeachment

 5   evidence based upon the testimony of the government’s witnesses and the materials that have

 6   been provided to the defense through discovery.

 7   III.   Evidentiary, Procedural or other Legal Issues

 8          The defense has filed motions in limine addressing the existing legal and evidentiary

 9   issues presented in the case. If additional issues develop, the defense will notify the Court and

10   the government.

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12   Dated: July 9, 2015                                  Respectfully submitted,

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                                                          STEVEN G. KALAR
14                                                        Federal Public Defender

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                                                          /s/
16                                                        GRAHAM ARCHER
                                                          Assistant Federal Public Defender
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